Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE THE APPLICATION OF
NELIO NELSON GOMES da SILVA,
PLAINTIFF / PETITIONER,
v. C.A. No.

MARCILENE de AREDES,
DEFENDANT / RESPONDENT.

 

VERIFIED COMPLAINT AND PETITION FOR RETURN OF THE MINOR CHILD

Plaintiff / Petitioner, Nelio Nelson Gomes da Silva (“Petitioner”), respectfully states as
follows:

INTRODUCTION

1. This action is brought by the Petitioner, a citizen of Brazil, to secure the return of
his daughter, Aj Cia] AB SHB child”), born October 15, 2010, age eight (8), who
was wrongfully taken from his home in Brazil and retained in Massachusetts by the child’s
mother, the Defendant / Respondent, Marcilene de Aredes (“Respondent”).

2. This Petition is filed pursuant to the Hague Convention on the Civil Aspects of
International Child Abduction (“Hague Convention”), Oct. 25, 1980, T.I.A.S. No. 11,670, 1343
U.N.T.S. 49 (reprinted at 51 Fed. Reg. 10494 (Mar. 26, 1986), and the International Child
Abduction Remedies Act (““ICARA”), 42 U.S.C. §§ 11601 — 11610 (2011). The Hague
Convention came into effect in the United States of America on July 1, 1998, and Brazil is
amongst the Contracting States. See Hague Convention attached hereto as Exhibit A.

3. The objects of the Hague Convention include: (a) to secure the prompt return of
children wrongfully removed to or retained in any Contracting State; and (b) to ensure that rights

of custody and of access under the law of one Contracting State are effectively respected in the
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 2 of 7

other Contracting States. Id. The Hague Convention provides authority to a federal district court
to determine the merits of a claim for the wrongful retention or removal of a child.
JURISDICTION AND VENUE

4, This action is brought pursuant to the original jurisdiction conferred on this Court
under 42 U.S.C. § 11603(a) (jurisdiction under the Hague Convention) and 28 U.S.C. § 1331
(federal question jurisdiction),

5. Venue is proper under 42 U.S.C. § 11603 and 28 U.S.C. § 1391(b) because, on
information and belief, the child and the Respondent reside in East Boston, Suffolk County,
Massachusetts.

FACTS

6, The child was born to the parties on October 15, 2010, and is presently eight (8)
years old. See copy of birth certificate attached hereto as Exhibit B.

7. From the date of the child’s birth through November of 2016, when the child was
wrongfully removed and retained, the parties were exercising joint custody of the child. During
that period of time, both parties and the child resided in Brazil.

8. Until the child’s wrongful removal and retention, the child attended school at
School Municipal José Miguel Muahad in Muriaé, Brazil. See Declaration from School
Municipal José Miguel Muahad attached hereto as Exhibit C,

9. In November of 2016, the parties agreed that Respondent would travel to a beach
in Brazil for vacation, returning at the end of December, prior to the child’s school
recommencing in January of 2017.

10. On November 15, 2016, without Petitioner’s knowledge or consent, Respondent

and the child flew from Brazil to the United States.
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 3 of 7

11. In December of 2016, Petitioner learned, through social media, that the child was
in the United States, specifically in Massachusetts. When Petitioner learned this, he reached out
to Respondent and insisted that he be permitted to speak with the child by phone. Respondent
refused, threatened to move to Canada if Petitioner continued to try and reach the child, and
blocked Petitioner from any incoming communications,

12. Petitioner has not seen or spoken to the child since November of 2016, almost two
(2) years ago.

13, Prior to arriving in the United States, Respondent undertook a course of action to
prevent Petitioner from learning the precise whereabouts of the child and from having regular
contact with her.

14, Prior to November of 2016, the child did not have a passport. Since November of
2016, Petitioner has learned that Respondent falsified his signature on necessary documentation
to obtain a passport for the child. See a copy of Passport Application and relevant
correspondence from The Honorable Public Defender in the State of Minas Gerais attached
hereto as Exhibit D.

15. Respondent has wrongfully retained the child in the United States, over
Petitioner’s objection, and in violation of the laws of Brazil.

16. On information and belief, the child is currently residing with Respondent at 72
Bennington Street, East Boston, Suffolk County, Massachusetts.

17, On or about August 5, 2018, Petitioner filed an application under the Hague
Convention through the Central Authority for International Child Abduction, with additional
information provided thereafter, requesting the return of the minor child to Brazil. See a copy of

said application and additional information attached hereto as Exhibit E.
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 4 of 7

WRONGFUL RETENTION OF MINOR CHILD BY THE RESPONDENT:
CLAIM FOR RELIEF UNDER THE HAGUE CONVENTION

18. As set forth above, on or about November 15, 2016, Respondent wrongfully
retained the minor child under Article 3 of the Hague Convention and continues to wrongfully
retain the minor child in the Commonwealth of Massachusetts, United States, in violation of
Article 3, despite Petitioner’s efforts to have the child returned to Brazil.

19, — Article 3 of the Hague Convention provides that the retention of a child is
considered wrongful where (a) it is in breach of rights of custody attributed to a person, an
institution or any other body, either jointly or alone, under the law of the State in which the child
was a habitual resident immediately before the removal or retention; and (b) at the time of
removal or retention those rights were actually exercised, either jointly or alone, or would have
been so exercised but for the removal or retention.

20, Respondent’s retention of the child is in violation of Petitioner’s right as joint
custodian to determine the minor child’s place of residence. See Hague Convention, Art. 5(a)
(defining “rights and custody” to include “rights relating to the care of the person of the child
and, in particular, the right to determine the child’s place of residence”),

21. At the time of the child’s retention in the United States, Petitioner was exercising
his rights of custody within the meaning of Articles 3 and 5 of the Hague Convention. But for
Respondent’s removal and retention of the child, Petitioner would have continued to exercise
those rights. The child resided with the parties in Brazil within the meaning of Article 3 of the
Hague Convention from her birth (October 15, 2010) through November 15, 2016. Petitioner
continued to consistently exercise his rights of custody until the day Respondent removed the

child from Brazil.
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 5 of 7

22, The child is presently eight (8) years old. The Hague Convention is applicable to
children under the age of sixteen (16),

28); Petitioner has never acquiesced or consented to Respondent’s permanent retention
of the child in the United States, or to her living outside of Brazil.

24. Petitioner is able to provide care for the child in Brazil.

PROVISIONAL REMEDIES
(42 U.S.C. § 11604 AND HAGUE CONVENTION, ARTICLE 16)

25. Petitioner requests that this Court issue an immediate order restraining
Respondent from removing the child from the jurisdiction of this Court, and a warrant seeking
immediate physical custody of the child, directing any United States Marshal or other law
enforcement officer to bring the child before this Court. Petitioner further requests that this
Court schedule an expedited hearing on the merits of the within Petition.

NOTICE OF HEARING
(42 U.S.C. § 11603(c))

26. Pursuant to 42 U.S.C. § 11603(c), Respondent shall be given notice of these
proceedings in accordance with the laws governing notice in interstate child custody
proceedings.

REQUESTS FOR RELIEF

WHEREFORE, Petitioner, Nelio Nelson Gomes da Silva, respectfully requests that this
Court:

1, Enter an immediate temporary restraining order prohibiting the removal of the
child from the jurisdiction of this Court pending a hearing on the merits of the within Verified

Complaint, and further provide that no person acting in concert or participating with Respondent
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 6 of 7

shall take any action to remove the child from the jurisdiction of this Court pending a
determination on the merits of the Verified Complaint;

2. The scheduling of an expedited preliminary injunction hearing on the merits of
the Verified Complaint; an Order that Respondent show cause at said hearing as to why the child
should not be returned to Brazil, and why such other relief requested in the Verified Complaint
should not be granted; and pursuant to the Federal Rule of Civil Procedure 65, an Order that the
trial of the action on the merits be advanced and consolidated with the hearing on the Verified
Complaint;

3. Enter judgment declaring and adjudicating that the child shall be returned to
Brazil, where an appropriate custody determination can be made by a Brazilian Court under
Brazilian law;

4, Order Respondent to pay Petitioner’s expenses and costs, including transportation
costs, under 42 U.S.C. § 11607; and

5, Grant such further and additional relief as this Honorable Court deems just and
proper, including an award of costs and attorneys’ fees incurred in this action.

Respectfully submitted.

NELIO NELSON GOMES da SILVA
By his attorneys,

 
   

Dated: November OY 2018

 

3, Crowley, BBO
ecrowle weburnsley, com
Katie M. Dalton, BBO #668580
kmdalton@burnsleyv.com
Burns & Levinson LLP
125 Summer Street
Boston, MA 02110
Tel: (617) 345-3000
Fax: (617) 345-3299
Case 1:18-cv-12353-DPW Document 1 Filed 11/09/18 Page 7 of 7

VERIFICATION

 

Under the penalties of perjury, 1 declare thai I have read the above Verified Complaint
and Petition for Return of the Minor Child, and the facts alleged are true, to the besi of my

knowledge and belief.

Executed this day of November, 2018.

pho rte om: Loar lo>- Sie

NELIO NELSON GOMES da SILVA
